Case 3:17-cv-00072-NKM-JCH Document 986 Filed 07/06/21 Page 1 of 2 Pageid#: 16508




                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division

   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, APRIL MUNIZ,
   HANNAH PEARCE, MARCUS MARTIN,
   NATALIE ROMERO, CHELSEA
   ALVARADO, and JOHN DOE,


                          Plaintiffs,
   v.


   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
   ALEX FIELDS, JR., VANGUARD        Civil Action No. 3:17-cv-00072-NKM
   AMERICA, ANDREW ANGLIN,
   MOONBASE HOLDINGS, LLC, ROBERT
   “AZZMADOR” RAY, NATHAN DAMIGO,
   ELLIOT KLINE a/k/a/ ELI MOSLEY,
   IDENTITY EVROPA, MATTHEW
   HEIMBACH, MATTHEW PARROTT a/k/a
   DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS,
   LEAGUE OF THE SOUTH, JEFF SCHOEP,
   NATIONAL SOCIALIST MOVEMENT,
   NATIONALIST FRONT, AUGUSTUS SOL
   INVICTUS, FRATERNAL ORDER OF THE
   ALT-KNIGHTS, MICHAEL “ENOCH”
   PEINOVICH, LOYAL WHITE KNIGHTS OF
   THE KU KLUX KLAN, and EAST COAST
   KNIGHTS OF THE KU KLUX KLAN a/k/a
   EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,


                          Defendants.


                   SUPPLEMENTAL CERTIFICATE OF SERVICE




                                        1
Case 3:17-cv-00072-NKM-JCH Document 986 Filed 07/06/21 Page 2 of 2 Pageid#: 16509




         I hereby certify that on July 2, 2021, I also served Plaintiffs’ Petition Regarding Recoverable
  Attorneys’ Fees from Robert “Azzmador” Ray (ECF No. 985), on the following non-ECF
  participants, via mail using the U.S. Postal Service, as follows:

   Christopher Cantwell
   Christopher Cantwell 00991-509
   USP Marion, 4500 Prison Rd.
   U.S. Penitentiary
   P.O. Box 2000
   Marion, IL 62959


   Dated: July 6, 2021

                                                        /s/ Jessica Phillips
                                                        Jessica Phillips (pro hac vice)
                                                        PAUL WEISS RIFKAND WHARTON
                                                        GARRISON LLP
                                                        2001 K St NW
                                                        Telephone: (202) 223-7300
                                                        Fax: (202) 223-7420
                                                        jphillips@paulweiss.com

                                                        Counsel for Plaintiffs




                                                    2
